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10   Attorneys for Plaintiff Bryce Abbink
     and the Classes
11
12                         UNITED STATES DISTRICT COURT

13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

14
15   Bryce Abbink, individually and on             Case No. 8:19-cv-01257-JFW-PJW
16   behalf of all others similarly situated,
                                                   DECLARATION OF PLAINTIFF’S
17                                                 LEAD TRIAL COUNSEL RE:
                                Plaintiff,
                                                   COMPLIANCE WITH LOCAL
18                                                 RULES GOVERNING ELECTRONIC
     v.
19                                                 FILING
20   Experian Information Solutions, Inc.,
                                            Hon. John F. Walter
     an Ohio corporation, Lend Tech
21
     Loans, Inc., a California corporation,
                                            Complaint filed: June 21, 2019
22   and Unified Document Services, LLC,
     a California Limited Liability
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     Company,
24
                                Defendant.
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     DECLARATION OF PLAINTIFF’S LEAD         -1-
28   TRIAL COUNSEL RE: COMPLIANCE WITH
     LOCAL RULES GOVERNING
     ELECTRONIC FILING
Case 8:19-cv-01257-JFW-PJW Document 22 Filed 07/18/19 Page 2 of 3 Page ID #:92




 1         I, Taylor T. Smith, declare as follows:
 2         1.    I am an associate attorney with the law firm Woodrow & Peluso, LLC
 3   and attorney of record for Plaintiff Bryce Abbink.
 4         2.    I am registered as an ECF User and my email address is
 5   tsmith@woodrowpeluso.com.
 6         3.    I have consented to service and receipt of filed documents by electronic
 7   means.
 8
 9         I declare under penalty of perjury under the laws of the United States of
10   America that the foregoing is true and correct. Executed on July 18, 2019, in Denver,
11   Colorado.
12                                   By:     /s/ Taylor T. Smith
13                                          Taylor T. Smith*
14                                            tsmith@woodrowpeluso.com
                                            WOODROW & PELUSO, LLC
15                                          3900 East Mexico Avenue, Suite 300
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17                                          *Pro Hac Vice
18                                          Attorney for Plaintiff Bryce Abbink
19                                          and the Classes

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     DECLARATION OF PLAINTIFF’S LEAD       -2-
28   TRIAL COUNSEL RE: COMPLIANCE WITH
     LOCAL RULES GOVERNING
     ELECTRONIC FILING
Case 8:19-cv-01257-JFW-PJW Document 22 Filed 07/18/19 Page 3 of 3 Page ID #:93




 1                            CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on July 18, 2019.
 5                                          /s/ Taylor T. Smith
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     DECLARATION OF PLAINTIFF’S LEAD     -3-
28   TRIAL COUNSEL RE: COMPLIANCE WITH
     LOCAL RULES GOVERNING
     ELECTRONIC FILING
